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                          UNITED STATES DISTRICT COURT FOR THE
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION

                             Case Number: 21-cv-61426-MARTINEZ

  KARL STEEVES,

         Plaintiff,

  vs.

  HALSTED FINANCIAL SERVICES, LLC,

        Defendant.
  _____________________________________/

          ORDER GRANTING UNOPPOSED MOTION FOR LEAVE TO FILE SECOND
                          AMENDED COMPLAINT

         THIS CAUSE came before the Court upon Plaintiff’s Unopposed Motion for Leave to File

  Second Amended Complaint (the “Motion”), (ECF No. 33). After careful consideration, it is

         ORDERED AND ADJUDGED that:

         1.      The Motion, (ECF No. 33), is GRANTED.

         2.      The Second Amended Complaint attached to the Motion, (ECF No. 33-1), shall be

  separately filed no later than Friday, January 7, 2021.

         DONE AND ORDERED in Chambers at Miami, Florida, this 4th day of January, 2022.



                                              _______________________________________
                                              JOSE E. MARTINEZ
                                              UNITED STATES DISTRICT JUDGE

  Copies provided to:
  All Counsel of Record
